
Jackson, Judge,
dissenting.
I disagree with that part of the majority decision which reverses the decision of the board. To my mind the issue, is uninvolved for *1130the reason that it is in its essence whether or not the method claims-are patentable over the allowed article claims.
The article is a square-shaped tea ball made from filter paper folded over on itself to form one seam of the bag. The other three seams are heat-sealed after the tea has been put into the bag. After sealing,, one of the seams is jpartially cut through its midportion to -form a handle.
The decisions of the Primary Examiner and the Board of Appeals are very clear to me. The examiner in his statement said:
The article may he invention, as indicated by the allowance of article claims, but this does not mean that the method oí making the article is patentable. It is thought that any one skilled in the art, having seen the article, would use subsantially the same method in producing it. Attention is directed to Ex parte Trevette, 97 O. G. 1173.
The board in its decision stated:
It appears to us that whatever patentable merit there may be in this case resides in the particular conceiit of the structure and after conception the article of manipulative steps employed in making it are so simple that no invention is seen in this feature. It is obvious that bags made from paper by folding a sheet on itself and then sealing the other three sides are very old and common and there is certainly no invention involved in merely making a slit through one of these sealing edges. For reasons stated, we can see no invention in the process claims.
I am in entire agreement with the decisions below, and cannot see how it would be anything but obvious to anyone having seen the article to employ appellant’s obvious method or methods in producing • it. In my opinion the decision -of the board should be affirmed.
I am authorized to state that Judge Hatfield joins in this dissent.
